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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                         )
UNITED STATES OF AMERICA,                )
  c/o United States Attorney             )
  for the District of Columbia           )
  555 4th Street, N.W.                   )
  Washington, DC 20530                   )
                                         )
                Plaintiff,               ) Civ. Action No.
                                         )
                v.                       )
                                         )
ALLIED PROTECTION SERVICES, INC. )
 5757 Century Blvd., Suite 700           )
 Los Angeles, CA 90045                   )
                                         )
                Defendant                )
____________________________________)

                                          COMPLAINT

       The United States brings this action against defendant Allied Protection Services,

pursuant to the False Claims Act (“FCA”), 31 U.S.C. § 3729 et seq.

                                            PARTIES

       1.      Plaintiff is the United States of America, on behalf of the United States Marshals

Service (“U.S. Marshals Service”), a law enforcement agency of the United States responsible

for the security and transportation of prisoners in federal custody.

       2.      Defendant Allied Protection Services, Inc. (“Allied”) is a California corporation

with a mailing address of 5757 Century Blvd., Suite 700, Los Angeles, CA 90045. Allied

entered into contracts with the U.S. Marshals Service to provide armed security personnel for the

security and transportation of prisoners in federal custody.
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                                 JURISDICTION AND VENUE

       3.      This action arises under the False Claims Act, 31 U.S.C. §§ 3729-33, and the

common law.

       4.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1345.

       5.      This Court may exercise personal jurisdiction over defendant pursuant to

31 U.S.C. § 3732(a), because Defendant entered into the contract in the District of Columbia and

transacts business in the District of Columbia.

       6.      Venue is proper in this District under 31 U.S.C. § 3732 and 28 U.S.C. § 1391(b)

and (c) because Defendant transacts business in this District.

                        STATUTORY FRAMEWORK OF THE FCA

       7.      The False Claims Act, originally enacted in 1863 during the Civi1 War was

substantially amended by the False Claims Amendments Act of 1986, signed into law on

October 17, 1986; and by the Fraud Enforcement and Recovery Act of 2009, signed into law on

May 20, 2009. Congress' intent was to enhance the Government's ability to recover losses

sustained as a result of fraud against the United States and to provide a private cause of action for

the protection of employees and others who act in furtherance of the purposes of the Act.

Congress acted after finding that fraud in federal programs and procurement is pervasive and that

the Act, which Congress characterized as the primary tool for combating fraud in government

contracting, was in need of modernization.

       8.      The FCA provides for the award of treble damages and civil penalties for the

knowing submission or knowingly causing the submission of a false or fraudulent claim for

payment to the United States Government, or knowingly using a false record or statement




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material to a false or fraudulent claim. 31 U.S.C. §§ 3729(a)(1)(A)–(B). Specifically the FCA

provided that any person who

               (a)(1)(A) knowingly presents, or causes to be presented, a false or
               fraudulent claim for payment or approval;

               (a)(1)(B) knowingly makes, uses, or causes to be made or used, a
               false record or statement material to a false or fraudulent claim;

               is liable to the United States Government for a civil penalty of not
               less than $5,000 and not more than $10,000 . . ., plus 3 times the
               amount of damages which the Government sustains because of the
               act of that person.

31 U.S.C. §§ 3729(a)(1). 1

       9.      Under the FCA, the United States does not need to demonstrate proof of specific

intent to defraud. Rather the term “knowing” and “knowingly” are defined under the FCA to

mean that a person has actual knowledge of the truth or falsity of the information; acts in

deliberate ignorance of the truth or falsity of the information; or acts in reckless disregard of the

truth or falsity of the information. 31 U.S.C. § 3729(b)(1).

                                               FACTS

                       Allied’s Contracts with the U.S. Marshals Service

       10.     As set forth below, Allied entered into service contracts (collectively referred to

as “U.S. Marshal Contracts”) with the U.S. Marshals Service to provide security, patrol and

prisoner transportation services for the U.S. Marshals Service. Each contract contained training,

certification, and equipment requirements and conditions that were essential to security and



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        Pursuant to the Federal Civil Monetary Penalties Inflation Adjustment Act of 1990, as
amended by the Debt Collection Improvement Act of 1996, 28 U.S.C. § 2461 (notes), 64 Fed.
Reg. 47099, 47103 (1999), and the Bipartisan Budget Act of 2015, 85 Fed. Reg. 37004-37005,
the FCA civil penalties were adjusted to a range of $5,500 to $11,000 per false claim for
violations occurring from September 29, 1999, to November 2, 2015, and $11,665 to $23,331 per
false claim for violations occurring after November 2, 2015.

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safety, and were material to the U.S. Marshals Service decision to pay and maintain each U.S.

Marshal Contract with Allied.

       11.     On October 17, 2012, the U.S. Marshals Service executed contract DJMS-13-D-

0185 with Allied Protection Services, Inc. (“Allied”) for the provision of security, patrol and

prisoner transportation services for the Western District of Washington (the “Washington

Contract”). The contract’s completion date was set for October 16, 2017.

       12.     On January 27, 2014, the U.S. Marshals Service executed contract DJM-14-A35-

V-0016 with Allied Protection Services, Inc., for the provision of security and patrol services for

the Southern District of Florida (the “S.D. Florida Contract”). The contract’s completion date

was set for September 30, 2018.

       13.     On January 29, 2014, the U.S. Marshals Service executed contract DJM-14-A35-

V-0017 with Allied Protection Services, Inc. for the provision of security and patrol services,

including prisoner transport, for the Eastern District of Virginia (“E.D. Virginia Contract”).

       14.      On October 1, 2014, the U.S. Marshals Service renewed the E.D. Virginia

Contract with Allied Protection Services, Inc., for the provision of security, patrol, and prisoner

transportation services in the Eastern District of Virginia. This contract’s completion date was

set for September 30, 2015.

       15.     The U.S. Marshal Contracts mentioned in paragraphs 11–14 above require that

employees of Allied meet certain minimum eligibility, training, and certification requirements,

and further that all Allied employees be equipped with acceptable security and custody

equipment. Under these contracts, Allied is responsible for the training, certification, and

orientation of all its employees, and for ensuring that all employees comply with the on-going

requirements of the U.S. Marshal Contracts.




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       16.        The U.S. Marshal Contracts mentioned in paragraphs 11-14 also required that

Allied maintain all personnel records for the duration of the contracts and make all personnel

records available to the U.S. Marshals Service upon request.

                             Employment Requirements and Training

       17.        Prior to assignment to a site governed by a contract with a U.S. Marshals Service,

Allied employees must complete or provide the following forms or items:

             a.      USM-234 Form (Personal Qualifications Statement)

             b.      Form I-9, Employment Eligibility Verification

             c.      SF-85P (Questionnaire for Non-sensitive Public Trust Positions)

             d.      A military discharge certificate, if applicable.

             e.      Medical Certification (showing employee is fit for duty) or a completed
                     physical examination.

             f.      Two FD-258 forms (Applicant Fingerprint Cards)

             g.      Two forms of identification; a USM-394 Personal Identity Verification Form
                     may also be utilized by the employee.

       18.        To qualify for a position as an Armed Detention Officer (“security officer”), the

U.S. Marshal Contracts required the following qualifications:

             a.      The employee to have a minimum of three years of work as full
                     time security, law enforcement, corrections officer, or military
                     police with experience monitoring detainees and dealing with
                     security matters related to prisoner handling and detention of
                     prisoners on a regular basis.

             b.      The employee must be at least twenty-one years old and have a
                     current driver’s license.

             c.      The employee must be a United States citizen or a legal alien.

             d.      The employee must not have a previous misdemeanor or felony
                     involving the illegal use of weapons.




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             e.      The employee must pass a criminal background investigation.

             f.      The employee must go through a social security number trace and
                     verification process.

             g.      The employee must provide verification of employment for the
                     previous five years.

             h.      The employee must provide verification of residency for the
                     previous three years.

             i.      The employee must have a satisfactory credit check, meaning that
                     the employee has no serious delinquent debts or unresolved liens,
                     collections accounts, or court ordered judgments.

             j.      The employee must pass a multi-state instant criminal and sex
                     offender registry check.

             k.      Allied provide all of its security officers with a weapons holster,
                     specific to the officer’s weapon, that covers the trigger guard and
                     secures the weapon with a minimum of one retention device in the
                     form of a strap or thumb-break.

       19.        These documentation and qualification requirements are material to the U.S.

Marshal Contracts, and Allied knew that the U.S. Marshals Service would have terminated its

use of Allied personnel and denied payment to Allied if these requirements were not met.

       20.        The U.S. Marshal Contract required that all Allied security officers complete the

following training requirements.

             a.      Forty hours of specified security officer training before beginning
                     employment as a security officer;

             b.      Nine-hour mandatory attendance supervisor training for all Allied
                     project managers and designated guard supervisors assigned to
                     duties under the U.S. Marshal Contracts;

             c.      Twenty hours of firearms training (“weapons proficiency course”),
                     pursuant to U.S. Marshal Directive 2.3: Handgun Qualifications.
                     The firearms training consists of twelve hours of classroom
                     instruction and eight hours of range instruction and qualification.




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             d.      The use of double action .38 caliber or larger revolvers with a
                     minimum capacity of six rounds and semi-automatic pistols, 9mm
                     by 19mm or larger, with a minimum capacity of six rounds. To
                     pass this weapons proficiency course, Allied security officers had
                     to annually obtain a score of 210 out of a possible 300 points for
                     primary duty handguns as per USMS Directive 2.3: Handgun
                     Qualifications.

             e.       An up-to-date permit to carry a firearm and a weapons proficiency
                     retest within sixty days prior to the one-year anniversary of the
                     previous test date.

       21.        The completion of each above-required training element was to be recorded and

maintained in the employee file of each Allied security officer/employee.

       22.        Allied was aware that most of Allied security officers’/employees’ files lacked

any proof that the employees received the above-required training.

       23.        These training requirements are material to the U.S. Marshal Contracts, and

Allied knew or should have known that the U.S. Marshals Service would have terminated its use

of Allied personnel and denied payment to Allied if these requirements were not met.

                           Weapons Proficiency Certification Requirement

       24.        The U.S. Marshal Contracts required that Allied security officers possess a

weapons proficiency certification / recertification.

       25.        The U.S. Marshals Contracts required any security officer who failed to pass the

weapons proficiency course is ineligible to serve as an armed security guard.

       26.        The U.S. Marshals Contracts required that all weapons proficiency certificates are

to be recorded and maintained in the employee file of each Allied security officer/employee.

       27.        Allied was aware that most of its security officers/employees lacked the required

weapons proficiency training and that the personnel file of those employees lacked a weapons

proficiency certificate.



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        28.     These certification requirements are material to the U.S. Marshal Contracts, and

Allied knew or should have known that the U.S. Marshals Service would have terminated its use

of Allied personnel and denied payment to Allied if this requirements were not met.

                                     Equipment Requirements

        29.     The U.S. Marshal Contracts required that Allied provide its security employees

with specific equipment to ensure the security and safety of persons within each security

employee’s custody.

        30.     The U.S. Marshal Contracts required that Allied provide all of its security officers

with a weapons holster, specific to the officer’s weapon, that covers the trigger guard and secures

the weapon with a minimum of one retention device in the form of a strap or thumb-break.

        31.     The U.S. Marshal Contracts also required that Allied shall be responsible for

purchasing restraining devices to be placed on all Federal prisoners while in Allied’s custody.

        32.     The U.S. Marshal Contracts further require that leg irons will be used on prisoners

confined to a hospital that does not have a jail ward, specialty restraints (i.e., tether & control

straps, thumb cuffs, flex cuffs, restraint chairs, etc.) will not be used unless specifically

authorized by the U.S. Marshals Service, and that handcuffs will be applied to a prisoner prior to

removing leg irons if the leg irons are to be removed for a medical or other compelling purpose.

        33.     Allied failed to provide its employees with the required equipment and/or failed to

ensure that its security employees possess and use the required equipment to ensure the safety

and security of the person in custody or the community.

        34.     These equipment requirements are material to the U.S. Marshal Contracts, and

Allied knew or should have known that failure to provide the equipment could pose a threat to

the health and safety of a person in custody, or would pose a threat to the community from the




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escape of a person in custody. The U.S. Marshals Service would have terminated its use of

Allied personnel and denied payment to Allied if these requirements were not met.

                                    Fairfax, Virginia Incident

       35.      As demonstrated below, the failure to comply with the above requirements

resulted in the escape of a dangerous prisoner in the custody of Allied security personnel, and

placed members of the community and officers of law enforcement agencies in grave danger.

       36.      On March 31, 2015, during a prisoner transport to Fairfax INOVA Hospital, a

dangerous and violent prisoner was able to overtake Allied security officers who were using non-

conforming security equipment, failed to keep the prisoner under supervision, lacked the

required equipment intended to prevent or impede a prisoner’s ability to take an employee’s

firearm, and lacked the required training and qualifications to be assigned as security personnel

under the U.S. Marshals Contract.

       37.      During the incident, the prisoner took a firearm from one Allied security officer,

took the guard as a hostage, and escaped from custody.

       38.      After a violent pursuit by the Fairfax County Police, the Virginia State Police, and

the District of Columbia Metropolitan Police Department, the prisoner was apprehended. This

incident is referred to hereafter as the “prisoner escape incident.”

       39.      In a follow-up investigation of the prisoner escape incident, the U.S. Marshals

Service determined that the security employees assigned by Allied to guard the prisoner were not

qualified, trained, or equipped to perform the services as required under the U.S. Marshal

Contracts.




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       40.      The United States conducted further investigations into all of Allied’s contracts

with the U.S. Marshals Service, which comprised of contracts for security personnel in Virginia,

Florida, and Washington State.

       41.      As part of the investigation, the United States subpoenaed and obtained the

personnel files of all Allied security personnel.

                        Allied’s Violations of the E.D. Virginia Contract

       42.      The United States investigated Allied’s performance under the E.D. Virginia

Contract and determined that all security employees used by Allied to fulfill its obligations under

the contract lacked the qualifications or training required by the contract.

       43.      Allied used thirty-four employees to fulfill its obligations under the E.D. Virginia

Contract.

       44.      Thirty-three employees failed to complete the required weapons proficiency

course and failed to retest their weapons proficiency on an annual basis.

       45.      A review of Allied records revealed that Allied failed to recertify that its

employees tested/retested and passed the weapons proficiency course, except for a single

employee who had not taken the weapons proficiency course before Allied assigned the

employee to fulfill the E.D. Virginia Contract.

       46.      The review further found that Allied failed to conduct background checks on all

of the employees that it used to fulfill the E.D. Virginia Contract, and most of the employees

failed to possess permits authorizing them to carry firearms.

       47.      Finally, the review found that Allied failed to provide its security officers with the

requisite security equipment for restraining and securing prisoners in their custody.




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       48.      Allied submitted or caused to be submitted invoices to the U.S. Marshals for

payments under the E.D. Virginia Contract between 2012 and 2015 that expressly and/or

impliedly certified that each employee was qualified for the position billed or invoiced, despite

Allied’s knowledge that its employees were not qualified and that its employees were not

provided security equipment thereby rendering them incapable of providing the services

invoiced.

                          Allied’s Violations of the S.D. Florida Contract

       49.      The United States conducted an investigation of Allied’s performance under the

S.D. Florida Contract and determined that all employees that Allied used to fulfil its contractual

obligations lacked the qualifications and training material to the contract and to the security of

the Federal prison system.

       50.      Allied used twelve employees to fulfill its obligations under the S.D. Florida

Contract.

       51.      All twelve employees that Allied used for the S.D. Florida Contract lacked many

or all of the qualifications required under the S.D. Florida Contract. All twelve employees failed

to complete the required weapons proficiency course and most did not meet any of the

contractual qualifications required for weapons training.

       52.      Allied failed to recertify annually to the U.S. Marshal or contract officer that its

employees tested/retested and passed the weapons proficiency course.

       53.      Allied further failed to conduct background checks on all of the employees that it

used to fulfill the S.D. Florida Contract and all employees failed to possess permits authorizing

them to carry firearms.

       54.      Allied submitted or caused to be submitted invoices to the U.S. Marshals for




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payments under the SD. Florida Contract between 2012 and 2017, despite Allied’s knowledge

that its employees were not qualified and were in violation of the S.D. Florida Contract.

                        Allied’s Violations of the Washington Contract

       55.      The United States conducted an investigation of Allied’s performance under the

Washington Contract and determined that all employees used by Allied to fulfill its contractual

obligations failed to meet the qualifications and training material to the contract.

       56.      Allied used thirty-seven employees to fulfill its obligations under the Washington

Contract.

       57.      All thirty-seven employees used by Allied lacked many or all of the qualifications

required under the contract. All thirty-seven employees failed to complete the required weapons

proficiency course and most did not meet any of the contractual qualifications required for

weapons training.

       58.      Allied failed to recertify annually to the U.S. Marshal’s Service or contracting

officer that its employees tested/retested and passed the weapons proficiency course.

       59.      Allied further failed to conduct background checks on twenty-six of the

employees that it used to fulfill the Washington Contract and most of all employees failed to

possess permits authorizing them to carry firearms.

       60.      Allied submitted or caused to be submitted invoices to the U.S. Marshals Service

for payments under the Washington Contract between 2012 and 2017, despite Allied’s

knowledge that its employees were not qualified in violation of the Washington Contract.

                                            DAMAGES

       61.      Between 2014 and 2015, Allied submitted twenty invoices to the U.S. Marshals

Service, and the U.S. Marshals Service paid Allied $212,150 under the E.D. Virginia Contract.




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Allied submitted or caused to be submitted to the U.S. Marshals Service these invoices, despite

Allied’s knowledge that its employees lacked the qualifications required by the E.D. Virginia

Contract.

        62.     Between 2014 and 2017, Allied submitted twenty-seven (27) invoices to the U.S.

Marshals Service, and the U.S. Marshals Service paid Allied $641,149 under the S.D. Florida

Contract. Allied submitted or caused to be submitted to the U.S. Marshals Service these

invoices, despite Allied’s knowledge that its employees lacked the qualifications required by the

S.D. Florida Contract.

        63.     Between 2012 and 2016, Allied submitted forty-one (41) invoices to the U.S.

Marshals Service, and the U.S. Marshals Service paid Allied $459,344, under the Washington

Contract. Allied submitted or caused to be submitted to the U.S. Marshals Service these

invoices, despite Allied’s knowledge that its employees lacked the qualifications required by the

Washington Contract.

                                   FIRST CAUSE OF ACTION
                          (False Claims Act: Presentation of False Claims)
                                    (31 U.S.C. § 3729(a)(1)(A))

        64.     The United States incorporates each allegation in Paragraphs 1 through 62 as if

fully set forth herein.

        65.     Allied knowingly presented or caused to be presented actual or implied false or

fraudulent claims for payment or approval to the United States. Specifically, Allied billed the

U.S. Marshals Service, and the United States paid for licensed, qualified security personnel, and

Allied failed to inform the U.S. Marshals Service that its personnel were not qualified to serve in

the positions assigned or invoiced.

        66.     By virtue of the false or fraudulent claims made by Allied, the United States




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suffered damages in an amount to be determined at trial and therefore is entitled under the False

Claims Act to triple damages. The United States is also entitled to a civil penalty of $10,781 to

$21,563 for each violation that occurred on or after November 2, 2015, and $5,500 to $11,000

for each violation that occurred on or before November 1, 2015.

                                SECOND CAUSE OF ACTION
                  (False Claims Act: Making or Using False Record or Statement)
                                   (31 U.S.C. § 3729(a)(1)(B))

        67.     The United States incorporates each allegation in Paragraphs 1 through 62 as if

fully set forth herein.

        68.     Defendants knowingly (as “knowingly” is defined by 3l U.S.C. § 3729(b)(1))

made, used, or caused to be made or used, false records or statements material to false or

fraudulent claims paid or approved by the United States. Specifically, Defendants knowingly

made false statements and/or implied certifications to the U.S. Marshals Service that it was

providing security services as required by the U.S. Marshals Contracts, and failed to notify or

inform the U.S. Marshals Service that its personnel were not qualified to serve in the positions

assigned or invoiced.

        69.     By virtue of the false or fraudulent claims or certifications made by Allied, the

United States suffered damages an amount to be determined at trial and therefore is entitled

under the False Claims Act to triple damages. The United States is also entitled to a civil penalty

of $10,781 to $21,563 for each violation that occurred on or after November 2, 2015, and $5,500

to $11,000 for each violation that occurred on or before November 1, 2015.

                                  THIRD CAUSE OF ACTION
                                      (Breach of Contract)

        70.     The United States incorporates each allegation in Paragraphs 1 through 62 as if

fully set forth herein.



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        71.      By reason of the actions described above, Allied breached the U.S. Marshal

Contracts by failing to provide security services as required by the U.S. Marshals Contracts.

        72.      As the result of this breach of contract, the United States has sustained damages.

                                 FOURTH CAUSE OF ACTION
                                     (Unjust Enrichment)

        73.      The United States incorporates each allegation in Paragraphs 1 through 62 as if

fully set forth herein.

        74.      Allied obtained payments from the U.S. Marshals by submitting invoices to the

U.S. Marshals under contracts that Allied knew it was breaching through its use of unqualified

employees. As a result of these payments, Allied has been unjustly enriched at the expense of

the United States, under circumstances dictating that in equity and good conscience sums paid to

Allied should be returned.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

        A.       On Plaintiff’s Counts One and Two, False Claims Act, judgment against the

Defendant, for treble its damages and, for the number of civil penalties allowable by law, in an

amount as the Court may determine between $5,500 and $21,563 for each violation;

        B.       On Plaintiff’s Count Three, Breach of Contract, for damages together with costs

and interest;

        C.       On Plaintiff’s Count Four, Unjust Enrichment, for damages together with costs

and interest;

        D.       For all other and further relief as the Court may deem just and equitable;

        E.       For pre-judgment interest, post-judgment interest, fees, and costs, as the jury

deems appropriate and just.



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                           Respectfully submitted,

                           MATTHEW GRAVES
                           United States Attorney

                           BRIAN HUDAK
                           Acting Chief, Civil Division

                         By: /s/ Darrell C. Valdez
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                           Counsel for the United States of America




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